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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                  CASE:

  DENISE PAYNE,

              Plaintiff,
  v.

  RETAIL WESTON PARTNERS, LLC and
  FLANIGAN’S ENTERPRISES, INC.
  D/B/A FLANIGAN’S SEAFOOD BAR
  AND GRILL,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, DENISE PAYNE, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues RETAIL WESTON PARTNERS,

  LLC and FLANIGAN’S ENTERPRISES, INC. D/B/A FLANIGAN’S SEAFOOD BAR AND

  GRILL, (hereinafter “Defendants”), and as grounds alleges:

                               JURISDICTION, PARTIES, AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.
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         4.      Plaintiff, DENISE PAYNE, is an individual over eighteen years of age, residing in

  Florida, and is otherwise sui juris.

         5.      At all times material, Defendant, RETAIL WESTON PARTNERS, LLC. owned

  and operated a commercial restaurant building located at 2460 Weston Road, Weston, Florida

  33326 (hereinafter the “Commercial Property”) and conducted a substantial amount of business

  in that place of public accommodation in Broward County, Florida.

         6.      At all times material, Defendant, RETAIL WESTON PARTNERS, LLC. was and

  is a Florida Limited Liability Company, organized under the laws of the State of Florida, with its

  principal place of business in Weston, Florida.

         7.      At all times material, Defendant, FLANIGAN’S ENTERPRISES, INC, owned and

  operated a commercial restaurant at 2460 Weston Road Weston, Florida 33326 (hereinafter the

  “Commercial Restaurant”) and conducted a substantial amount of business in that place of public

  accommodation in Broward County, Florida. Defendant, FLANIGAN’S ENTERPRISES, INC.,

  holds itself out of the public as “FLANIGAN’S SEAFOOD BAR AND GRILL”.

         8.      At all times material, Defendant, FLANIGAN’S ENTERPRISES, INC., was and

  is a Florida Profit Corporation, organized under the laws of the State of Florida, with its principal

  place of business in Fort Lauderdale, Florida.

         9.      Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Broward County, Florida, Defendants regularly conduct

  business within Broward County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Broward County, Florida.

                                         FACTUAL ALLEGATIONS


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         10.     Although over thirty (30) years have passed since the effective date of Title III of

  the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         11.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

         12.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         13.     Plaintiff, DENISE PAYNE, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff uses a wheelchair to ambulate. Plaintiff has very limited use of her

  hands and cannot operate any mechanisms which require tight grasping or twisting of the wrist.

  She is limited in her major life activities by such, including but not limited to walking, standing,

  grabbing, grasping and/or pinching.

         14.     Defendant, RETAIL WESTON PARTNERS, LLC., owns, operates, and oversees

  the Commercial Property, its general parking lot and parking spots.

         15.     The subject Commercial Property is open to the public and is located in Weston,

  Broward County, Florida.

         16.     The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include visits to the Commercial Property and

  businesses located within the Commercial Property on or about March 29, 2022 and encountered

  multiple violations of the ADA that directly affected her ability to use and enjoy the Commercial


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  Property and businesses located therein. She often visits the Commercial Property and businesses

  located within the Commercial Property in order to avail herself of the goods and services offered

  there, and because it is approximately seventeen (17) miles from her residence, and is near other

  businesses and restaurants she frequents as a patron. She plans to return to the Commercial

  Property and the businesses located within the Commercial Property within two (2) months of the

  filing of this Complaint, specifically on or before August 15th, 2022.

          17.    The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue her patronage and use of each of the premises.

          18.    The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and businesses located within the Commercial Property. The

  barriers to access at the Commercial Property, and the businesses located within the Commercial

  Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

  businesses located within the Commercial Property, and have endangered her safety in violation

  of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of

  injury(ies), embarrassment, and discomfort to Plaintiff, DENISE PAYNE, and others similarly

  situated.

          19.    Defendants, RETAIL WESTON PARTNERS, LLC. and FLANIGAN’S

  ENTERPRISES, INC., own and/or operate a place of public accommodation as defined by the

  ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants,

  RETAIL WESTON PARTNERS, LLC. and FLANIGAN’S ENTERPRISES, INC., are


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  responsible for complying with the obligations of the ADA. The place of public accommodation

  where Defendants, RETAIL WESTON PARTNERS, LLC. and FLANIGAN’S ENTERPRISES,

  INC., own and operate the Commercial Property Business is located at 2460 Weston Road,

  Weston, Florida 33326.

         20.     Plaintiff, DENISE PAYNE, has a realistic, credible, existing and continuing threat

  of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Counts I through II of this Complaint.

  Plaintiff has reasonable grounds to believe that she will continue to be subjected to discrimination

  at the Commercial Property, and businesses located within the Commercial Property, in violation

  of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

  only to avail herself of the goods and services available at the Commercial Property, and

  businesses located within the Commercial Property, but to assure herself that the Commercial

  Property and businesses located within the Commercial Property are in compliance with the ADA,

  so that she and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.

         21.     Defendant, RETAIL WESTON PARTNERS, LLC, as landlord and owner of the

  Commercial Property Business, is responsible for all ADA violations listed in Counts I and is

  jointly and severally liable for the violations in Count II of the Complaint.

         22.     Defendants have discriminated against the individual Plaintiff by denying her

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the


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    Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                         COUNT I – ADA VIOLATIONS AS TO EXTERIOR FOR
                            DEFENDANTS RETAIL WESTON PARTNERS,
                               LLC. and FLANIGAN’S ENTERPRISES

           23.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

    22 above as though fully set forth herein.

           24.     Defendants, RETAIL WESTON PARTNERS, LLC. and FLANIGAN’S

    ENTERPRISES, have discriminated, and continue to discriminate, against Plaintiff in violation

    of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26,

    1993, if a Defendants has 10 or fewer employees and gross receipts of $500,000 or less). A list

    of the violations that Plaintiff encountered during her visit to the Commercial Property, include

    but are not limited to, the following:

       A. Entrance Access and Path of Travel

  i.   The Plaintiff had difficulty traversing the path of travel, as it is not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

ii.    The Plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iii.   The Plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.


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      Violation: There are curb ramps at the facility that contain excessive slopes, violating Section

      4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

      resolution is readily achievable.

iv.   The Plaintiff had difficulty on the path of travel at the facility, as ramps do not have compliant

      handrails violating Section 4.8.5 of the ADAAG and Section 405.8 of the 2010 ADA

      Standards, whose resolution is readily achievable.

                    COUNT II – ADA VIOLATIONS AS TO INTERIOR FOR
                       DEFENDANTS, RETAIL WESTON PARTNERS,
                           LLC AND FLANIGAN’S ENTERPRISES,
                    INC. D/B/A FLANIGAN’S SEAFOOD BAR AND GRILL

          25.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   22 above as though fully set forth herein.

          26.     Defendants, RETAIL WESTON PARTNERS, LLC AND FLANIGAN’S

   ENTERPRISES, INC. D/B/A FLANIGAN’S SEAFOOD BAR AND GRILL, have discriminated,

   and continue to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to

   have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendants has 10 or

   fewer employees and gross receipts of $500,000 or less). A list of the violations that Plaintiff

   encountered during her visit to the Commercial Property, include but are not limited to, the

   following:

      A. Access to Goods and Services

 i.   The Plaintiff could not utilize the bar counter, as it is mounted too high. Violation: There are

      bar counters that are not at the prescribed height, violating Section 4.32.4 and 5.2 of the

      ADAAG and Section 902.3 of the 2010 ADA Standards, whose resolution is readily

      achievable.

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       B. Public Restrooms

  i.   The restroom signage is not mounted at the required location, violating Section 4.30.6 of the

       ADAAG and Section 703.4 of the 2010 ADA Standards, whose resolution is readily

       achievable.

ii.    The Plaintiff was exposed to a cutting/burning hazard because the lavatories outside the

       accessible toilet compartment have pipes that are not wrapped. Violation: The lavatory pipes

       are not fully wrapped or insulated outside the accessible toilet compartment violating Section

       4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose

       resolution is readily achievable.

iii.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

iv.    The Plaintiff could not use the coat hook without assistance, as it is mounted too high.

       Violation: There are coat hooks provided for public use in the restroom, outside the reach

       ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

       604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 v.    The Plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

       required distance from the side wall. Violation: The water closet in the accessible toilet

       compartment is mounted at a non-compliant distance from the wall in violation of Section


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        4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

        resolution is readily achievable.

vi.     The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

        wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

        4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

        readily achievable.

vii.    The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructs the clear

        floor space. Violation: The required clear floor space is not provided next to the toilet,

        violating Section 4.16.2 and Figure 28 of the ADAAG, 28 CFR 36.211, and Section 604.3 of

        the 2010 ADA Standards, whose resolution is readily achievable.

                                    RELIEF SOUGHT AND THE BASIS

            27.     The discriminatory violations described in this Complaint are not an exclusive list

    of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ place of

    public accommodation in order to photograph and measure all of the discriminatory acts violating

    the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

    requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

    presence, which prevented Plaintiff, DENISE PAYNE, from further ingress, use, and equal

    enjoyment of the Commercial Property and the business therein; Plaintiff requests to be physically

    present at such inspection in conjunction with Rule 34 and timely notice. Plaintiff requests the

    inspection in order to participate in crafting a remediation plan to address Plaintiff’s request for

    injunctive relief.

            28.     The individual Plaintiff, and all other individuals similarly situated, have been


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  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

  public accommodation in order to determine all of the areas of non-compliance with the

  Americans with Disabilities Act.

          29.     Defendants have discriminated against the individual Plaintiff by denying her

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

          30.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled


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  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

         31.     While Defendant, RETAIL WESTON PARTNERS, LLC, as landlord and owner

  of the Commercial Property, is primarily responsible for all ADA violations listed in this

  Complaint, tenants and landlords can be held jointly and severally liable for ADA violations.

         32.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, the Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         33.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendants has 10 or fewer

  employees and gross receipts of $500,000 or less). All other conditions precedent have been met

  by Plaintiff or waived by the Defendants.

         34.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 2460 Weston Road,

  Weston, FL 33326, the exterior areas, and the common exterior areas of the Commercial Property

  and businesses located within the Commercial Property, to make those facilities readily accessible

  and useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility


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  until such time as the Defendants cure the violations of the ADA.

             WHEREFORE, the Plaintiff, DENISE PAYNE, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.

  Dated: June 22, 2022

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                                                 By:    /s/ Beverly Virues
                                                        BEVERLY VIRUES

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